                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA



THE ESTATE OF LAUREL HUNTER, by
and through her husband and Personal
Representative of Estate, NEIL HUNTER;
and NEIL HUNTER,

                        Plaintiffs,

              v.                          Case No. 3:18-cv-00151-SLG

OFFICER MILLS; CAROLINE BAPI; and
JOHN DOES 1-10, EMPLOYEES
AND/OR AGENTS OF THE STATE OF
ALASKA, DEPARTMENT OF
CORRECTIONS,

                        Defendants.


                   ORDER OF DISMISSAL WITHOUT PREJUDICE

       Plaintiffs’ Motion to Dismiss Without Prejudice at Docket 38 is hereby

GRANTED.

       IT IS HEREBY ORDERED that this matter is DISMISSED WITHOUT

PREJUDICE, the parties to bear their own respective costs and attorney fees, if

any.

       FURTHER ORDERED that pending motions, if any, are DENIED, and

pending deadlines and filing requirements, if any, are VACATED.

       DATED this 18th day of September, 2019.

                                      /s/ SHARON L. GLEASON
                                      Hon. Sharon L. Gleason
                                      UNITED STATES DISTRICT JUDGE




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